
Truax, J.
It is unnecessary for us to discuss the points raised by appellant on the appeal from, the judgment, as they were determined against appellant on a former appeal. Lahey v. Kortright, 56 Supr. Ct., 527; 22 N. Y. State Rep., 434.
It was adjudged by the trial court that plaintiff should specifically perform his contract to take title to, and pay the sum of $36,300 for two certain pieces of property, which pieces of property it was alleged in one of the affidavits used on the motion for an extra allowance, were worth said sum. The trial judge granted an allowance of $800.
We are of the opinion that property of the value of $36,300 was the “subject matter involved,” Code of Civil Procedure, § 3253, and as the amount allowed was less than five per cent, of this amount, and as there had been two trials and one appeal to the general term, we cannot say that the trial judge erred in granting the allowance.
Judgment and order appealed from affirmed, with costs.
Freedman, J., concurs.
